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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION
                                             Case No.:

  CHARLA BEAUVAIS,                                     )
                                                       )
                      Plaintiff,                       )
                                                       )
  v.                                                   )
                                                       )
  AMISIAL MEDSPA LLC and EDY                           )
  AMISIAL,                                             )
                                                       )
                     Defendants.                       )
                                                       )
                                                       )
                                                       )

                                             COMPLAINT

         Plaintiff CHARLA BEAUVAIS (“Plaintiff”) and other similarly situated individuals sue

  defendants AMISIAL MEDSPA LLC and EDY AMISIAL (“Defendants”) and allege:

              I.      JURISDICTION

         1.        This is an action to recover money damages for unpaid overtime wages under the

  laws of the United States pursuant to the Fair Labor Standards Act, 29 U.S.C. § 201-219 (“FLSA”),

  and for violation of Section 448.102, Florida Statutes.

         2.        The jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331, 28 U.S.C.

  § 1343(3) and (4) and 28 U.S.C. § 2617.

         3.        This Court has supplemental jurisdiction over the related state law claims pursuant

  to 28 U.S.C. § 1367(a) because those claims form part of the same case or controversy under

  Article III of the United States Constitution. Plaintiff’s state law claims share all common operative

  facts with their federal law claims, and the parties are identical. Resolving Plaintiff’s federal and
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  state claims in a single action serves the interests of judicial economy, convenience, consistency,

  and fairness to the parties.

                II.       VENUE

          4. The Corporate Defendant, Amisial MedSpa is a corporation duly authorized and

  existing under the laws of the State of Florida and conducting business in Miami-Dade County,

  Florida.

          5.           Defendant Edy Amisial (the “Dr. Amisial”) is the owner and/or officer of the

  Corporate Defendant, and he had an office and does business in Miami-Dade County, Florida. At

  all times material hereto, the Individual Defendant was and is engaged in interstate commerce.

          6.           The Plaintiff is a resident of Broward County.

          7.           The acts or omissions giving rise to this Complaint occurred in whole or in part in

  Miami-Dade, Florida.

          8.           Venue is proper under 28 U.S.C. § 1391(b) because the acts complained of occurred

  within this judicial district and because the Defendant has its principal place of business within the

  district, resides in the judicial district and because the employment records of the Plaintiff are

  stored or have been administered, in Miami-Dade, Florida.

                III.      GENERAL ALLEGATIONS

          9.           Ms. Beauvais experienced administrator with nearly 8 years of experience working

  in the field.

          10.          On or about May 5, 2022, Ms. Beauvais began working for Defendants, and was

  told that she was hired as the Office Administrator, and she would make $20.00 per hour.

          11.          During Ms. Beauvais’ first week of work, on or about May 5th and 9th, 2022, Dr.

  Amisial administered Botox and fillers on patients, and instructed Ms. Beauvais to assist as his
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  medical assistant. During the medical procedures, Ms. Beauvais noticed that Dr. Amisial picked

  up gauzes from the floor, and used it on the patient. Ms. Beauvais also noticed that on both

  occasions, Dr. Amisial left the patient’s room in disarray, with syringes on the floor as opposed to

  properly disposing them, and left gauzes on the floor that were contaminated with the patient’s

  blood. Ms. Beauvais additionally noticed that there was no red biohazard bin in the patient’s room.

          12.     Ms. Beauvais was fearful for her safety and did not want to come into contact with

  the waste.

          13.     On or about May 10, 2022, when Ms. Beauvais arrived at work the janitor, Valorie

  ULN, made a complaint to her about needles being left around in the office. Ms. Beauvais told

  Valorie that she would speak with the doctor about it because she also had an issue with needles

  being left around.

          14.     On this same day, Ms. Beauvais spoke with Dr. Amisial as soon as she saw him.

  Ms. Beauvais complained to Dr. Amisial that the office required more red biohazard disposal bins.

  She complained that Dr. Amisial was not disposing the needles immediately after they are used on

  patients, as he is required to do.

          15.     Shortly after Ms. Beauvais complained to Dr. Amisial and objected, Dr. Amisial

  requested Ms. Beauvais assist him with a patient who requested Botox, fillers, and Platelet-Rich

  Plasma(“PRP”) procedures. When Dr. Amisial made his request, notwithstanding Ms. Beauvais’

  complaints and objections, made earlier and then again at the time of Dr. Amisial’s request, Dr.

  Amisial disregarded Ms. Beauvais’ concerns and demanded she assist him with the medical

  procedure.

          16.     During the procedure, Dr. Amisial began to draw the patient's blood and attempted

  to transfer the blood into the correct tube, but ended up spilling the patient’s blood all over the
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  area. Ms. Beauvais immediately backed up into the corner because she felt that her health was in

  risk.

          17.    Thereafter, Dr. Amisial changed his gloves as if nothing happened, placed the tube

  in the PRP machine. The machine spun the blood and Dr. Amisial went through with the procedure

  as if nothing had happened. When the machine finished spinning, he left the tube covered in blood

  on the outside in the machine. Ms. Beauvais inquired if he was going to properly dispose of the

  tube and Dr. Amisial stated “yes.” Shortly after, Ms. Beauvais began to feel very uncomfortable,

  and once again requested Dr. Amisial to sanitize the room. Once again, Dr. Amisial replied “yes”

  but never sanitized the room.

          18.    Dr. Amisial never changed his conduct. Despite Ms. Beauvais’ complaints and

  objections, Dr. Amisial continued to leave syringes, needles and used gauzes out, and not

  discarded, and patient blood exposed.

          19.    Then, on May 16, 2022, while Ms. Beauvais was speaking with Janitor Valorie and

  Dr. Michelle Isma Joseph, the second medical provider of Amisial MedSpa (“AMS”). Ms.

  Beauvais complained about the Dr. Amisial unsanitary conduct to Janitor Valorie and Dr. Joseph.

  During the same discussion, Janitor Valorie complained to Ms. Beauvais and Dr. Joseph about Dr.

  Amisial unsanitary conduct. In response, Dr. Joseph stated she would speak to Dr. Amisial

  regarding the improper disposal of biohazard medical waste.

          20.    After her discussion with Janitor Valorie and Dr. Joseph, Ms. Beauvais went to the

  room where the blood had spilled on May 9, 2022 to verify if the room was still contaminated with

  the exposed blood. Sure enough, there was still blood underneath the cabinet and the blood drawn

  from the patient was still left in the PRP machine seven (7) days after the incident.
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         21.       Ms. Beauvais, concerned with patients’ wellbeing, avoided placing any other

  patients in the contaminated room for any of the consultations scheduled the rest of the day.

  Nevertheless, days went by and Dr. Amisial would place patients in that room exposing to the

  biohazard medical waste.

         22.       Dr. Amisial did not perform another Botox procedure until May 19, 2022. Ms.

  Beauvais was not present in the patient’s room and stayed away from the room with the patient as

  she had requested. After the patient left, Ms. Beauvais went to clean up the room to get it ready

  for the next patient, and found that syringes and needles were left exposed again. Ms. Beauvais

  left the room and spoke with Dr. Amisial once more regarding the improper disposal of biohazard

  medical waste.

         23.       On May 25, 2022, once again, Dr. Amisial performed a Botox procedure and did

  not properly dispose of the biohazard medical waste. Dr. Joseph proceeded to take pictures of the

  exposed needles and syringes.

         24.       A few days later, on or about May 27, 2022, when Ms. Beauvais went to place her

  food in the mini-fridge located in the breakroom, she observed specimens that weren't picked up

  the day before in the fridge along with other medications.

         25.       Thereafter, on the following business day, May 31, 2022, after Dr. Amisial’s Botox

  and Fillers medical procedure on a patient, Ms. Beauvais went to prepare the room for the next

  patient and noticed that once again Dr. Amisial left syringes and needles exposed in the patient’s

  room. At this moment Ms. Beauvais decided to start documenting the improper disposal of

  biohazard medical waste and taking pictures since it remained an ongoing issue without correction.

         26.       On June 1, 2022, after Ms. Beauvais once again requested that Dr. Amisial dispose

  the syringes, needles and used gauzes, Dr. Amisial called Ms. Beauvais into his office and scolded
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  and threatened her. Specifically, Dr. Amisial said to Ms. Beauvais that “he is the big boss” and

  that she “was not going to last long there”.

         27.      After the June 1, 2022, Ms. Beauvais was fearful that she would lose her job.

         28.      Ms. Beauvais continued to perform her duties as usual. The afternoon of that same

  day, June 1, 2022, Dr. Amisial attended another patient for Botox and fillers. After the treatment,

  while preparing the room for another patient. Ms. Beauvais noticed that Dr. Amisial once again

  did not properly dispose of the biohazard medical waste. Ms. Beauvais complained and took

  pictures, but nothing changed.

         29.      During a staff meeting on June 13th, 2022, Dr. Amisial made several hostile and

  humiliating remarks towards Ms. Beauvais and stated that the staff had to work overtime no matter

  what. Ms. Beauvais responded by stating that she could not work overtime and inquiring about the

  pay for overtime since he had not paid per one- and one-half times her regular rate of pay (i.e.,

  overtime) when she previously worked more than 40 hours in a workweek.

         30.      Dr. Amisial became noticeably upset and, with anger, again made hostile and

  humiliating remarks about Plaintiff, and then preceding to terminate Ms. Beauvais by stating that

  she did not have a place at the Corporate Defendant’s business and that she was terminated from

  her employment with AMS.

         31.      Throughout her employment, Ms. Beauvais worked approximately 10.75 hours per

  week, without being properly paid one and a half times her regular rate of pay for all hours worked

  in a workweek.

         32.      All conditions precedent to bringing this action have occurred, been performed or

  been excused.
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         33.        The Plaintiff has retained the undersigned counsel in order that his/her rights and

  interests may be protected. The Plaintiff has become obligated to pay the undersigned a reasonable

  attorneys’ fee.

                              COUNT I: RETALIATION – FPWA 448.102

        34.         The Plaintiff re-alleges and incorporates the allegations set forth above in

 paragraphs 1- 33 as if fully set forth herein.

        35.         Florida Statutes provide:

                    448.102   Prohibitions. —An employer may not take any retaliatory

                    personnel action against an employee because the employee has:

                              …

                            (3) Objected to, or refused or participated in, any activity, policy,
                           or practice of the employer which is in violation of a law, rule or
                           regulation.

        36.         The Plaintiff objected to or refused to participate in the Defendant’s activity of

 improperly disposing of medical waste, when she complained to Dr. Amisial and Dr. Joseph on

 multiple occasions. Instead of correcting the wrongs objected to or refused by the Plaintiff, the

 Defendant fired Plaintiff.

        37.         Improper disposal of medical waste is a violation of Section 381.0098, Florida

 Statutes – Biomedical Waste and Chapter 64E-16, of the Florida Administrative Code (“FAC”) and

 OSHA Interpretation Letter dated June 2, 2009, authored by Richard E. Fairfax, Director of

 Directorate of Enforcement Programs.

        38.         The Defendant fired the Plaintiff because she objected to or refused to participate

 in the Defendant’s improper disposal of medical waste, which is a violation of the law.
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         39.      The firing of the Plaintiff is a wrongful act in violation of the Florida Whistle-

 blower's Act, Section 448.102(3), Florida Statutes.

         40.      As a direct result of Defendant’s unlawful actions, the Plaintiff has been damaged.

          WHEREFORE, the Plaintiff requests that this Honorable Court:

          a. Reinstate the Plaintiff to the same position held before the Defendant’s retaliatory
             action against the Plaintiff, or to an equivalent position;

          b. Reinstate the Plaintiff’s full fringe benefits and seniority rights;

          c. Award compensation for lost wages, benefits, mental damages, and other
             remuneration;

          d. Order payment by the Defendant of the Plaintiff’s reasonable costs and attorneys’
             fees of this action pursuant to Section 448.104, Florida Statutes;

          e. Issue an order prohibiting the Defendant from discharging individuals who refuse to
             engage in or object to practices which violate Florida law; and

          f. Such further relief as the Court deems just and proper.


           COUNT II: UNPAID OVERTIME (CORPORATE DEFENDANT) – FLSA

         41.      The Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1 -

 33 above as if set out in full herein.

          42.     The Plaintiff is a covered employee for purposes of the FLSA.

          43.     This action is brought by the Plaintiff to recover from the Corporate Defendant

  unpaid overtime compensation, as well as an additional amount as liquidated damages, costs, and

  reasonable attorneys’ fees under the provisions of 29 U.S.C. § 201 et seq., and specifically under

  the provisions of 29 U.S.C. § 207. Section 207(a)(1) of the FLSA states: “No employer shall

  employ any of his employees . . . for a work week longer than 40 hours unless such employee

  receives compensation for his employment in excess of the hours above-specified at a rate not less

  than one and a half times the regular rate at which he is employed.”
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         44.      Jurisdiction is conferred on this Court by Title 28 U.S.C. § 1337 and by Title 29

  U.S.C. § 216(b). The Corporate Defendant is and, at all times pertinent to this Complaint, was

  engaged in interstate commerce.

         45.      At all times pertinent to this Complaint, the Corporate Defendant operated as an

  organization which sold and/or marketed its services and/or goods to customers from throughout

  the United States and also provided its services for goods sold and transported from across state

  lines of other states, and the Corporate Defendant obtained and solicited funds from non-Florida

  sources, accepted funds from non-Florida sources, used telephonic transmissions going over state

  lines to do its business, transmitted funds outside the State of Florida, and otherwise regularly

  engaged in interstate commerce, particularly with respect to its employees.

         46.      Upon information and belief, the annual gross revenue of the Corporate Defendant

  was at all times material hereto in excess of $500,000 per annum, and/or the Plaintiff and those

  similarly situated, by virtue of working in interstate commerce, otherwise satisfy the FLSA’s

  requirements.

         47.      By reason of the foregoing, the Corporate Defendant is and was, during all times

  hereafter mentioned, an enterprise engaged in commerce or in the production of goods for

  commerce as defined in §§ 3(r) and 3(s) of the FLSA and/or the Plaintiff was engaged in interstate

  commerce for the Corporate Defendant. The Corporate Defendant’s business activities involve

  those to which the Act applies. The Corporate Defendant is a Medical Spa and, through its business

  activity, affects interstate commerce. The Plaintiff’s work for the Corporate Defendant likewise

  affects interstate commerce. Plaintiff was employed by the Corporate Defendant as an office

  administrator for the Corporate Defendant’s business.
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           48.        While employed by the Corporate Defendant, the Plaintiff worked approximately

   an average of 50.75 hours per week without being compensated at the rate of not less than one-

   and one-half times the regular rate at which she was employed.

           49.        The Plaintiff worked for the Corporate Defendant from approximately May 5, 2022

   to June 13, 2022. In total, the Plaintiff worked approximately 5.5 compensable weeks under the

   FLSA.

           50.        The Corporate Defendant paid the Plaintiff on average approximately $20.00 per

   hour.

           51.        However, the Corporate Defendant did not properly compensate the Plaintiff for

   hours that the Plaintiff worked in excess of 40 per week.

           52.        The Plaintiff seeks to recover unpaid overtime wages accumulated from the date of

   hire.

           53.        Prior to the completion of discovery and to the best of the Plaintiff’s knowledge, at

   the time of the filing of this Complaint, the Plaintiff’s good faith estimate of her unpaid overtime

   wages is as follows:

           a. Actual Damages: $1,773.75

                 i.      Calculation: $20.00 (hourly pay) x 1.5 (overtime rate) x 10.75 (approximate

                         number of overtime hours) x 5.5 (compensable weeks) =$1,773.75;

           b. Liquidated Damages: $1,773.75.

           c. Total Damages: $ 3,547.50 plus reasonable attorneys’ fees and costs of suit.

           54.        At all times material hereto, the Corporate Defendant failed to comply with Title

   29 U.S.C. §§ 201-219 and 29 C.F.R. § 516.2 and § 516.4 et seq. in that the Plaintiff performed

   services and worked in excess of the maximum hours provided by the FLSA, but no provision was
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   made by the Corporate Defendant to properly pay them at the rate of time-and-one-half for all

   hours worked in excess of forty hours (40) per workweek as provided in the FLSA.

           55.     The Corporate Defendant knew and/or showed reckless disregard of the provisions

   of the FLSA concerning the payment of overtime wages and remains owing the Plaintiff these

   overtime wages since the commencement of the Plaintiff’s employment with the Corporate

   Defendant as set forth above, and the Plaintiff is entitled to recover double damages. The Corporate

   Defendant never posted any notice, as required by Federal Law, to inform employees of their

   federal rights to overtime and minimum wage payments.

           56.     The Corporate Defendant willfully and intentionally refused to pay the Plaintiff

   overtime wages as required by the laws of the United States as set forth above and remains owing

   the Plaintiff these overtime wages since the commencement of the Plaintiff’s employment with the

   Corporate Defendant as set forth above.

           WHEREFORE, the Plaintiff requests that this Honorable Court:

           a. Enter judgment for the Plaintiff against the Corporate Defendant on the basis of the
              Corporate Defendant’s willful violations of the Fair Labor Standards Act, 29 U.S.C.
              § 201 et seq. and other Federal Regulations; and

           b. Award the Plaintiff actual damages in the amount shown to be due for unpaid wages
              and overtime compensation for hours worked in excess of forty weekly; and

           c. Award the Plaintiff an equal amount in double damages/liquidated damages; and

           d. Award the Plaintiff reasonable attorneys’ fees and costs of suit; and

           e. Grant such other and further relief as this Court deems equitable and just.


           COUNT III: UNPAID OVERTIME (INDIVIDUAL DEFENDANT) – FLSA

           57.     The Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-

   33 above as if set out in full herein.

           58.     The Plaintiff is a covered employee for purposes of the FLSA.
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            59.    At the times mentioned, the Individual Defendant was, and is now, the owner of

   the Corporate Defendant. The Individual Defendant was an employer of the Plaintiff within the

   meaning of Section 3(d) of the FLSA in that the Individual Defendant acted directly or indirectly

   in the interests of the Corporate Defendant in relation to the employees of the Corporate Defendant,

   including the Plaintiff. The Individual Defendant had operational control of the Corporate

   Defendant, was involved in the day-to-day functions of the Corporate Defendant, provided the

   Plaintiff with her work schedule, and is jointly liable for the Plaintiff’s damages.

            60.    The Individual Defendant is and was at all times relevant a person in control of the

   Corporate Defendant’s financial affairs and could cause the Corporate Defendant to compensate

   (or not to compensate) its employees in accordance with the FLSA.

            61.    The Individual Defendant willfully and intentionally caused the Plaintiff not to

   receive overtime compensation as required by the laws of the United States as set forth above and

   remains owing the Plaintiff these overtime wages since the commencement of the Plaintiff’s

   employment with the Corporate Defendant as set forth above.

            WHEREFORE, the Plaintiff requests that this Honorable Court:

            a. Enter judgment for the Plaintiff against the Individual Defendant on the basis of the
               Defendants’ willful violations of the Fair Labor Standards Act, 29 U.S.C. § 201 et seq.
               and other Federal Regulations; and

            b. Award the Plaintiff actual damages in the amount shown to be due for unpaid wages
               and overtime compensation for hours worked in excess of forty weekly; and

            c. Award the Plaintiff an equal amount in double damages/liquidated damages; and

            d. Award the Plaintiff reasonable attorneys’ fees and costs of suit; and

            e. Grant such other and further relief as this Court deems equitable and just.

                                        JURY TRIAL DEMAND

            The Plaintiff and those similarly situated demand trial by jury of all issues so triable as of
   right.
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   Dated: November 11, 2022.


                                           Respectfully submitted,

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